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            EXHIBIT F
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· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA
· · · · · · · · · ·SAN FRANCISCO DIVISION

·   ·   JOHN STEMMELIN, on behalf· )
·   ·   of himself and all other· ·)
·   ·   persons similarly· · · · · )
·   ·   situated,· · · · · · · · · )
·   ·   · · · · · · · · · · · · · ·)
·   ·   · · · · · · · · · · · · · ·)
·   ·   Plaintiff,· · · · · · · · ·)· No. 3:20-cv-04168-WHA
·   ·   · · · · · · · · · · · · · ·)
·   ·   · · · ·vs.· · · · · · · · ·)
·   ·   · · · · · · · · · · · · · ·)
·   ·   MATTERPORT, INC., a· · · · )
·   ·   Delaware corporation; RJ· ·)
·   ·   PITTMAN; DAVE GAUSEBECK;· ·)
·   ·   MATT BELL; CARLOS KOKRON;· )
·   ·   PETER HEBERT; JASON· · · · )
·   ·   KRIKORIAN; and MIKE· · · · )
·   ·   GUSTAFSON,· · · · · · · · ·)
·   ·   · · · · · · · · · · · · · ·)
·   ·   · · · · · · · · · · · · · ·)
·   ·   Defendants.· · · · · · · · )
·

· · · · · · · · The deposition of WILLIAM CHE,

· · ·called for examination pursuant to Federal Rules of

· · ·Civil Procedure 30(b)(6) for the United States

· · ·District Courts pertaining to the taking of

· · ·depositions, taken before Dahlia Rivera Fazioli, a

· · ·notary public within and for the County of Cook and

· · ·State of Illinois,via Zoom webconference, on the

· · ·1st day of December, 2021, at the hour of

· · ·1:00 o'clock p.m., central standard time.

·

· · ·Dahlia Rivera Fazioli, CSR, License No:· 084-1579


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·1   · · ·Q.· · I'm going to share my screen with you
·2   again, and share another document in just a second.
·3   · · · · · ·MS. HARRIS:· So I'd like to mark this as
·4   Exhibit -- are we on 16?
·5   · · · · · ·THE COURT REPORTER:· Yes.
·6   · · · · · ·MS. HARRIS:· Thank you.
·7   · · · · · · · · · · (Whereupon, CHE Deposition
·8   · · · · · · · · · · ·Exhibit No. 16 was marked for
·9   · · · · · · · · · · ·identification.)
10   BY MS. HARRIS:
11   · · ·Q.· · So Exhibit 16 is exhibit -- was
12   Exhibit A to our joint discovery letter seven that
13   was filed in this case, and it lists Matterport
14   employees, their names, title is one column, job
15   description, plaintiff's position, defendant's
16   position.· Do you see that?
17   · · ·A.· · I do see it.
18   · · ·Q.· · Okay.· And then just certain of these
19   Matterport -- it says ESI data is not available for
20   this former employee.
21   · · · · · · · · · Do you see that?· I don't know
22   how to a pronounce that name, Gatika Aurora.
23   (Phonetic.)
24   · · · · · · · · · Brian Frisbee, it says ESI data


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·1   is not available for this former employee.
·2   (Phonetic.)
·3   · · · · · · · · · Paul Grasshoff, Andy Leventhal,
·4   and Jordan Yount.· Matterport says ESI data is not
·5   available for this former employee.
·6   · · · · · · · · · So my question to you is, did you
·7   search for these employees' ESI data?
·8   · · ·A.· · We -- I searched for the availability of
·9   the contact.· We did not do the actual search.
10   That was done by Lighthouse.
11   · · ·Q.· · So what information did you give to
12   Lighthouse for them to conduct the search?
13   · · ·A.· · We provided Lighthouse access, admin
14   access, to our Google Suite environment so they can
15   perform the search.
16   · · ·Q.· · And Lighthouse came back and told you
17   that the information was deleted from the G Suite
18   environment for those former employees that I
19   showed you; is that correct?
20   · · ·A.· · Lighthouse did not indicate if the
21   contact was deleted, but they -- they just
22   performed a search.· They didn't provide any
23   information, either they were available or not.
24   · · ·Q.· · If it wasn't available, doesn't that


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·1   mean it was deleted?
·2   · · ·A.· · I would agree, yes.· If it was not
·3   available from the Google search, then that means
·4   the account was not in the Google Suite.
·5   · · ·Q.· · And do you know what the company's
·6   procedure is with regard to litigation holds?
·7   · · ·A.· · Yes.
·8   · · · · · ·MR. JOHNSON:· Objection to the question.
·9   Exceeds the scope of the deposition notice topic.
10   BY MS. HARRIS:
11   · · ·Q.· · Do you know if there was a litigation
12   hold in place regarding Stemmelin's -- this case,
13   Stemmelin's lawsuit or George Kenner's lawsuit
14   against Matterport?
15   · · ·A.· · Yes.
16   · · ·Q.· · Do you know the extent -- was there a
17   communication sent out to employees about the
18   litigation hold?
19   · · ·A.· · Certain employees, yes.
20   · · ·Q.· · Do you know how those certain employees
21   were selected to be sent the litigation hold
22   information?
23   · · ·A.· · No, I do not know the selection process.
24   · · ·Q.· · Do you know the names of the employees


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·1   that were sent the litigation hold instructions?
·2   · · ·A.· · I would need to confirm that, if the
·3   recipient was blind copied or not, I don't recall.
·4   · · ·Q.· · Do you know when the litigation hold was
·5   implemented at Matterport?
·6   · · ·A.· · I don't know off the top of my head
·7   right now, when was it first sent out.
·8   · · ·Q.· · Well I guess my question is, if there
·9   was a litigation hold in place, why were these
10   employees' G Suite data deleted?
11   · · ·A.· · I would need to double check.· I would
12   need to double check on certain individuals that
13   the ESI data is not available.
14   · · ·Q.· · So sitting here today, you're not -- so
15   sitting here today, you don't know why the G Suite
16   data of the employees identified on Exhibit A was
17   deleted, even though there was a litigation hold in
18   place; is that correct?
19   · · ·A.· · I don't know the reason right now,
20   that's right.
21   · · ·Q.· · Are there any backup systems for the
22   G Suite environment that would have the G Suite
23   data that was deleted?
24   · · ·A.· · We do use Code 42 to do our backups.


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·1   · · ·Q.· · What's that called again?
·2   · · ·A.· · Code 42.
·3   · · ·Q.· · Is that searchable?
·4   · · ·A.· · I do not believe so.· It's an archive,
·5   so it's a backup file, it's not a live file.
·6   · · ·Q.· · So is there any way to go back and
·7   retrieve the data of the former employees that was
·8   deleted, to your knowledge?
·9   · · ·A.· · No, if it's deleted off of G Suite, then
10   it's not recoverable.
11   · · ·Q.· · I just want to confirm something that I
12   think you already said.
13   · · · · · · · · · So Matterport hired Lighthouse to
14   search the ESI of the custodians identified by
15   Matterport, using the agreed upon search terms;
16   correct?
17   · · ·A.· · Yes.
18   · · ·Q.· · Okay.· I'm done with this document, so
19   I'm taking it down.
20   · · · · · · · · · Next I want to ask you about
21   Zendesk.· Do you know what Zendesk is and how
22   Matterport uses it?
23   · · ·A.· · Yes.
24   · · ·Q.· · Can you give a brief description of what


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